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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                *
In the Matter of the Petition of GRACE          *
                                                                        Civ. No. 24-00941-JKB
OCEAN PRIVATE LIMITED, et al., for
                                                *
Exoneration from or Limitation of
                                                                               IN ADMIRALTY
Liability                                       *
                                                *
      *       *      *       *       *      *       *      *       *      *       *      *

                                 MEMORANDUM AND ORDER
       Pending before the Court are two emergency Motions from Claimants Damon Davis (ECF

No. 43) and the Mayor and City Council of Baltimore (“the City”) (ECF No. 44) requesting that

the Court hold a telephone status call on an expedited basis, and that the Court issue an order

enjoining certain crew members of the M/V Dali from leaving the United States to allow Claimants

the opportunity to depose those crew members. The Claimants explain that the crew members are

expected to return to their home countries in the immediate future, as soon as June 20, 2024. (ECF

No. 43 at 2; ECF No. 44 at 2.) The Court will set in a Hearing to hear the Parties’ positions

regarding these Motions.

       The Motions were filed with nearly no notice and seek immediate action from the Court,

without providing any time for opposing parties to be heard in response and without citing to any

authority that supports the relief requested. The only authority to which Davis cites is Federal

Rule of Civil Procedure 16, but that rule simply gives the Court authority to hold conferences to

adopt measures for managing the Court’s docket; it provides no authority for the Court to forbid

persons from leaving the jurisdiction. The City likewise fails to cite to any authority supporting

the relief sought. Moreover, an order enjoining the crew members from leaving the jurisdiction

would implicate their liberty interests. The Court would not take such an action lightly, and in
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particular, not without assurance that (1) it had the authority to issue such an order, and (2) the

crew members’ rights would be adequately protected.

       That said, the Claimants’ filings bring to the Court’s attention an email from Petitioners,

Grace Ocean Private Limited and Synergy Marine Pte Ltd, which may have led Claimants to

believe that the crew members would be available for depositions. It appears that counsel for

Petitioners sent an email to many interested parties on April 12, 2024, assuring the parties that

Petitioners “fully intend for all crew members to remain aboard the vessel for the foreseeable future

and that, in the event it becomes necessary for a crew member to leave the vessel that we will give

everyone as much notice as possible so that arrangements can be made to preserve their testimony.”

(ECF No. 43-1 at 1.) But then, at approximately 10:30 a.m. this morning, Tuesday, June 18, 2024,

counsel for Petitioners explained that eight crew members would be leaving Baltimore “on or

about June 20th.” (ECF No. 43-2.) Counsel for Petitioners also stated in that email that they saw

no need for depositions because criminal counsel for the crew members had already told

Petitioners that, if the crew members were deposed, he would advise them to invoke their Fifth

Amendment right to silence. (Id.)

       Given this turn of events, the Court will set in a Hearing, requiring the presence of certain

counsel. The Parties will be expected to discuss the Court’s authority to order the relief sought in

the Motions. The Court will also review the chain of events that led to Petitioners’ email

announcing the imminent departure of the crew members. While the Court is not enjoining the

crew members’ travel, the Court will direct Petitioners not to facilitate the departure of any crew

members prior to the conclusion of the Hearing, and will direct the United States not to deport the

crew members and to take whatever affirmative action is necessary to ensure the crew members’

presence in this jurisdiction through the conclusion of the Hearing, pursuant to the Court’s inherent



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authority and the All Writs Act. See 28 U.S.C. § 1651(a) (“The Supreme Court and all courts

established by Act of Congress may issue all writs necessary or appropriate in aid of their

respective jurisdictions and agreeable to the usages and principles of law.”).

        Accordingly, it is ORDERED that:

   1.      A HEARING is set in for Thursday, June 20, 2024 at 10:00 a.m. in Courtroom 5A at

           101 W. Lombard St. Baltimore, MD. The following persons must appear at the

           Hearing:

           a.      Counsel for Davis and for the City;

           b.      Counsel for Grace Ocean Private Limited and Synergy Marine Pte, Ltd; and

           c.      Counsel for the United States with authority to speak for the Department of

                   Justice, United States Customs and Border Protection, the National

                   Transportation Safety Board, and the United States Coast Guard.

   2.      Grace Ocean Private Limited and Synergy Marine Pte Ltd SHALL NOT FACILITATE

           the departure of any crew members from this jurisdiction prior to the Hearing.

   3.      The United States SHALL NOT DEPORT and SHALL OTHERWISE TAKE ANY

           APPROPRIATE ACTION necessary to facilitate the crew members’ presence in this

           jurisdiction until the conclusion of the Hearing.



DATED this 18th day of June, 2024.

                                                     BY THE COURT:

                                                      /s/ James K. Bredar
                                                     James K. Bredar
                                                     United States District Judge




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